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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                  )
                                                                  )
    In re:                                                        )   Chapter 11 (Subchapter V)
                                                                  )
    FREE SPEECH SYSTEMS, LLC,                                     )   Case No. 22-60043 (CML)
                                                                  )
                             Debtor.                              )
                                                                  )
                                                                  )
    In re:                                                        )   Chapter 7
                                                                  )
    ALEXANDER E. JONES,                                           )   Case No. 22-33553 (CML)
                                                                  )
                             Debtor.                              )
                                                                  )

                              CONNECTICUT FAMILIES’
               STATEMENT IN SUPPORT OF TRUSTEE’S EMERGENCY MOTION

             The Connecticut Families,1 as creditors and parties in interest in the above-captioned cases

(the “FSS Case” and the “Jones Case”), file this statement (this “Statement”) in support of the

Trustee’s Emergency Motion to (1) Clarify Transfer of Control and Signing Authority With Respect

to Debtor’s Bank Accounts, (2) for an Order Extending Automatic Stay in the Alex Jones Case to

Free Speech Systems LLC, and (3) Related Relief (the “Motion”) [Case No. 22-33553 (the “Jones

Docket”), No. 720]. In support of the Motion, the Connecticut Families respectfully state as

follows:




1
       The “Connecticut Families” are Mark Barden, Jacqueline Barden, Francine Wheeler, David Wheeler, Ian
       Hockley, Nicole Hockley, Jennifer Hensel, William Aldenberg, William Sherlach, Carlos M. Soto, Donna Soto,
       Jillian Soto-Marino, Carlee Soto Parisi, Robert Parker, and Erica Ash.
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                                                    Statement

        1.       The Connecticut Families support the Motion and the Chapter 7 Trustee’s2 efforts

to secure an orderly liquidation of Free Speech Systems, LLC (“FSS”) and an equal distribution

of its assets among all of the Sandy Hook Families.3

        2.       At the hearing before this Court4 on June 14, 2024, the Connecticut Families raised

the concern that dismissal of the FSS Case would precipitate a “race to the courthouse” and risked

a “winner take all” outcome that was inconsistent with the Bankruptcy Code’s preference for

equitable distributions among creditors. Counsel for the Texas Families5 expressed significant

“surprise” that the Connecticut Families had these concerns,6 asserted that they had worked

cooperatively with the Connecticut Families in the past, and represented that any concern over a

race to the courthouse was overblown because the Texas Families “invited” the Connecticut

Families to continue to work collaboratively together.7 Counsel for the Texas Families also

represented that the Texas Families supported dismissal, rather than an orderly liquidation of FSS’s

assets in chapter 7, so that FSS could continue operating and generate additional cashflow.8




2
    The “Chapter 7 Trustee” refers to the chapter 7 trustee appointed in the Jones Case.
3
    The “Sandy Hook Families” refers to the Connecticut Families and the Texas Families (as defined herein).
4
    This “Court” refers to the United States Bankruptcy Court for the Southern District of Texas.
5
    The “Texas Families” are Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and the Estate of
    Marcel Fontaine.
6
    See June 14, 2024 Hr’g Tr. at 178:15–17 (“Now, I have to admit, I’m very surprised about all this race to the
    courthouse stuff that we’ve been hearing today, Judge. It’s the first I’ve ever heard of it.”); id. at 185:3–5
    (“[S]hocked to hear about the race to the courthouse talk from Connecticut.”).
7
    See, e.g., June 14, 2024 Hr’g Tr. 179:9–13 (“We invite Connecticut to be part of [the collections] process.”); id.
    at 179:14–15 (“We’re open to working together with Connecticut. I invite them to do so.”); id. at 181:17–19
    (“And we’re going to collect, hopefully in tandem with Connecticut, in a sustainable way, in a way that maximizes
    the value.”); id. at 186:21–24 (“[W]e’re asking for the ability to put our destiny in our own hands, work with
    Connecticut and pursue some sort of collections in a dismissal.”).
8
    See, e.g., June 14, 2024 Hr’g Tr. 178:12–14 (stating that it is in creditors’ best interests that “FSS continue as a
    going concern, so that the Creditors can collect”); id.at 182:18-21 (“What matters is, are you going to get more
    money for these creditors selling FSS for scraps? Or are you going to get more collecting from an ongoing
    business, Judge?”); id. at 181:17-19 (going to collect “in a sustainable way, in a way that maximizes the value.”).

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       3.      Unfortunately, these representations quickly proved false. Only a couple hours

after this Court’s entry of an order dismissing the FSS Case, the Texas Families, without any

notice to the Connecticut Families, immediately sought the turnover of all of FSS’s property to

the Texas Families for their sole benefit—a result that would leave the Connecticut Families with

no recovery at all from FSS. Even worse, two hours after the Texas Families filed their motion,

the Texas state court, without the benefit of context or apparent knowledge of substance of this

Court’s orders, purported to grant such relief, without affording FSS, its owner, the Chapter 7

Trustee, or the Connecticut Families the opportunity to be heard. Contemporaneously, the Texas

Families also sought a writ of garnishment in Texas state court to attempt to seize FSS’s cash and

other assets. The Texas Families’ actions were precisely what they had told the Court and the

Connecticut Families they would not do just days earlier.

       4.      To be clear, the Connecticut Families support an orderly liquidation of FSS’s assets

and pro rata distributions among FSS’s creditors that hold valid claims. The Texas Families, quite

clearly, do not have the same goals. Rather, they seek preferential treatment and outsized

recoveries by attempting to win the very race to the courthouse that they claimed to eschew on

June 14. Indeed, by their filings in Texas state court, it is the stated preference of the Texas

Plaintiffs that all assets of FSS be turned over for their exclusive benefit—and that the Connecticut

Families receive no recovery at all from FSS. This Court found that dismissal was in the best

interest of FSS’s creditors as a whole and thus should not condone the Texas Families’ disruptive

efforts to force the overwhelming majority of FSS’s creditors to face the prospect of having no

recovery at all.

       5.      These actions, if allowed to continue, would have substantial—if not disastrous—

impacts beyond the unequal distribution of FSS’s assets to creditors. This Court has converted the



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Jones Case to a case proceeding under chapter 7 of title 11 of the United States Code (the

“Bankruptcy Code”), and the Chapter 7 Trustee has been appointed in the Jones Case. See Order

Converting Debtor’s Chapter 11 Case to a Case Under Chapter 7 of the Bankruptcy Code [Jones

Docket No. 708]; Notice of Appointment of Chapter 7 Trustee [Jones Docket No. 709]. As the

Motion makes clear, if the Texas Families’ actions are not stopped, they will significantly impede

the Chapter 7 Trustee’s ability to effectuate an orderly, equitable, and value-maximizing

winddown of the estate of Alexander E. Jones (“Jones”). Because this “value-destructive money

grab” should be stopped immediately, the Connecticut Families support the relief requested by the

Motion. See Mot. ¶ 5.

       6.      Conversion of the Jones Case immediately vested in the Chapter 7 Trustee all non-

exempt property of the Jones estate. Accordingly, the Chapter 7 Trustee now holds 100% of the

equity interests in FSS, and, as owner and soon to be manager of FSS, “has a fiduciary duty to the

creditors of FSS in addition to his fiduciary duties as the chapter 7 trustee of the Alex Jones

creditors.” Mot. ¶ 15 n.7. For one subset of FSS’s creditors to simply remove all of the assets of

FSS and “garnish” its bank accounts would, necessarily, gut the responsibilities of the Chapter 7

Trustee and forestall other creditors’ ability to recover any distributions from the most valuable

asset of the Jones estate. The Connecticut Families submit that this would undermine the very

protections that converting the Jones Case and appointing the Chapter 7 Trustee were intended to

provide to Jones’s creditors, and would prevent the Chapter 7 Trustee from effectuating his

mandate. The Texas Plaintiffs seek an outcome where creditors holding less than 5% of the

liquidated claims against FSS and Jones would be entitled to recover 100% of the value of FSS,

which is Jones’s most valuable asset. That would be the most disastrous end possible to a




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bankruptcy that lasted two years, and was certainly not what the Texas Families represented would

happen upon dismissal at the June 14th hearing.

       7.      Further, as described in the Motion, the Texas Families’ actions directly contravene

this Court’s Order Dismissing Case (the “Dismissal Order”) [Case No. 22-60043 (the “FSS

Docket”) No. 956], granting a remedy that the Texas Families supported. The Dismissal Order

authorizes FSS’s chief restructuring officer to “transfer control and signing authority with respect

to the Debtor’s bank accounts to Christopher R. Murray in his capacity as the Chapter 7 Trustee

for the bankruptcy estate of Alexander Jones.” Dismissal Order ¶ 2. Accordingly, the Dismissal

Order contemplates that the Chapter 7 Trustee will be responsible for FSS’s assets—including

the very same bank accounts that the Texas Families are attempting to assert control over through

their application for a writ of garnishment. The Texas Families’ attempts to usurp this Court’s

Dismissal Order, purely for their own economic self-interest, should be stopped.

       8.      Moreover, the Texas Families’ actions directly contradict their express

representations to this Court at the June 14 hearing. At that hearing, and in their Texas Families’

Statement Supporting Dismissal, the Texas Families based their support of dismissal of the FSS

Case on their purported belief that FSS's continued operation as a going concern would be value

maximizing for all creditors. See e.g., Texas Families’ Statement Supporting Dismissal ¶ 12

(“[D]ismissing FSS provides more value for the estate and its creditors. Creditors’ recoveries in a

chapter 7 conversion will amount to crumbs compared with potential recovery the creditors stand

to gain from FSS post-dismissal.”); see also June 14, 2024, Hr’g Tr. at 181:16–19 (“And we’re

going to collect, hopefully in tandem with Connecticut, in a sustainable way, in a way that

maximizes the value.”). Instead, their actions now “threaten the ongoing business of FSS,” and

would “throw the business into chaos.” Mot. ¶¶ 4, 6.



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       9.      Accordingly, the Connecticut Families, like the Chapter 7 Trustee, believe it is

critical that the automatic stay in the Jones Case be extended to protect FSS’s assets, and to prevent

further gamesmanship. Unfortunately, the Texas Families’ self-serving actions threaten to destroy

remaining value, prevent the Chapter 7 Trustee from pursuing an orderly winddown for the benefit

of all creditors, and turn the legacy of this case into fundamental unfairness. The Connecticut

Families request that the Court enforce the letter and the spirit of its prior rulings in the manner

requested by the Chapter 7 Trustee.




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Dated: June 24, 2024                 Respectfully submitted,


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                                         Co-Counsel to the Connecticut Families




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Motion has been served on
counsel for the Debtor, the Debtor, and all parties receiving or entitled to notice through CM/ECF
on this 24th day of June, 2024.

                                                    /s/ Ryan E. Chapple
                                                    Ryan E. Chapple




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